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 1   Jacob K. Danziger (SBN 278219)
     ARENTFOX SCHIFF LLP
 2   44 Montgomery Street, 38th Floor
 3   San Francisco, CA 94104 United States
     Telephone: (734) 222-1516
 4   Facsimile: (415) 757-5501
     jacob.danziger@afslaw.com
 5
     Beth A. Wilkinson (pro hac vice)
 6
     Rakesh N. Kilaru (pro hac vice)
 7   Kieran Gostin (pro hac vice)
     Calanthe Arat (SBN 349086)
 8   Tamarra Matthews Johnson (pro hac vice)
     WILKINSON STEKLOFF LLP
 9   2001 M Street NW, 10th Floor
     Washington, DC 20036
10
     Telephone: (202) 847-4000
11   Facsimile: (202) 847-4005
     bwilkinson@wilkinsonstekloff.com
12   rkilaru@wilkinsonstekloff.com
     kgostin@wilkinsonstekloff.com
13   carat@wilkinsonstekloff.com
     tmatthewsjohnson@wilkinsonstekloff.com
14

15   Attorneys for Defendant
     NATIONAL COLLEGIATE ATHLETIC ASSOCIATION
16
     [Additional Counsel Listed on Signature Page]
17
                               UNITED STATES DISTRICT COURT
18
                             NORTHERN DISTRICT OF CALIFORNIA
19                                  OAKLAND DIVISION

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21   IN RE COLLEGE ATHLETE NIL                       Case No. 4:20-cv-03919-CW
     LITIGATION
22                                                   JOINT MOTION FOR APPROVAL OF
                                                     ADDITIONAL SETTLEMENT CLASS
23                                                   COMMUNICATIONS

24                                                   Judge: Hon. Claudia Wilken

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                                                           JOINT MOT. FOR APPROVAL OF ADD’L
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 1          Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs and Defendants
 2   National Collegiate Athletic Association (NCAA), Atlantic Coast Conference (ACC), The Big Ten
 3   Conference, Inc. (Big Ten), The Big 12 Conference, Inc. (Big 12), Pac-12 Conference (Pac-12),
 4   and Southeastern Conference (SEC) hereby move for an order approving publication of the
 5   attached communication to potential Class Members. See Question and Answer: Impact of the
 6   Proposed Settlement on Current Division I Student-Athletes, NCAA (Dec. 13, 2024) (attached
 7   hereto as Exhibit A).
 8          Since the Court preliminarily approved the Settlement, student-athletes have frequently
 9   approached the NCAA, the Conferences, and the NCAA’s member institutions with clarifying
10   questions about the settlement. Because the NCAA is a defendant in this lawsuit, it has been
11   unable to answer such questions directly. But the questions are of the type that would typically be
12   answered by question-and-answer (Q & A) documents posted to the NCAA’s website. To help
13   answer these questions in an easily-accessible way, the NCAA has prepared a Q & A document
14   addressing commonly-asked questions about the settlement. Both Class Counsel and Defendants
15   agree that the Q & A provides truthful and non-misleading information to potential Class Members
16   and that the NCAA is uniquely situated to ensure that such information is even more widely
17   disseminated to the benefit of potential Class Members. The parties accordingly jointly request
18   that the Court approve publication of the Q & A document.
19                                           BACKGROUND
20          On October 7, 2024, the Court granted preliminary approval of the Settlement and directed
21   notice to potential Class Members. See Dkt. No. 544. Since then, there has naturally been much
22   public discussion about the pending Settlement and how it would operate if approved, which has
23   led to frequent questions by student-athletes. Because the NCAA is a defendant in this case, it has
24   not followed its usual practice of attempting to answer such questions broadly and publicly with
25   Q & A documents developed in conjunction with NCAA committees (including student-athletes)
26   and the Conference Defendants. But both student-athletes and the NCAA’s member institutions
27   have requested that such guidance be made more broadly available.
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 1          At the same time, and as the Court’s recent protective order granting Plaintiffs’ Motion for
 2 a Prospective Order Concerning Misleading Third-Party Claims Filing Services details, some third

 3 parties have sent misleading communications and solicitations to potential Class Members about

 4 the pending Settlement. See Dkt. No. 576 at 2 (“[T]he Court is concerned that certain solicitations

 5 of class members regarding third-party claims filing services have been misleading”). The Court’s

 6 recent Order is a meaningful and important step to correct these misimpressions.

 7          Class Counsel and Defendants agree that under the circumstances, it would be helpful for
 8 potential Class Members to receive even more truthful and accurate information about the

 9 Settlement. Accordingly, the NCAA prepared a Q & A document addressing the most commonly-

10 asked questions from student-athletes. Those questions are:

11          •   “Will all student-athletes receive name, image and likeness (NIL) payments from their
12              school?”
13          •   “If a school provides additional benefits or NIL payments, will all student-athletes at a
14              particular school or on a particular team receive the same amount of NIL payments or
15              benefits from the school?
16          •   “Is a student-athlete’s athletics scholarship guaranteed?”
17          •   “Is a student-athlete’s roster spot guaranteed?”
18          •   “Do student-athletes need to disclose all NIL agreements?”
19          •   “May student-athletes sign an NIL agreement with anyone?”
20          •   “How do student-athletes know if an individual or company is an ‘associated individual
21              or entity’?”
22          •   “Who determines whether the money provided by an associated entity or individual is
23              at a fair market rate?”
24          •   “What can schools do to help student-athletes find NIL opportunities?”
25          •   “Can student-athletes sign NIL agreements with schools AND outside third parties?”
26          •   “Are there any other restrictions on schools that student-athletes should be aware of?”
27          •   “Where can student-athletes go if they have questions about participation in the
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                                                              JOINT MOT. FOR APPROVAL OF ADD’L
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 1              settlement?”
 2          •   “Where can student-athletes go if they have questions about the Division I NIL
 3              environment?”
 4   Ex. A at 1–3.
 5          Class Counsel and Defendants have conferred about the Q & A document and jointly
 6   believe the contents provide truthful and accurate information about the Settlement. The parties
 7   further believe it will benefit potential Class Members for such information to be even more
 8   broadly disseminated than it already has been.
 9                                             ARGUMENT
10          Federal Rule of Civil Procedure 23 “grants federal courts ‘broad authority’ to manage class-
11   action litigation.” Fox v. Saginaw Cnty., 35 F.4th 1042, 1047 (6th Cir. 2022) (citation omitted). In
12   any class action, each potential class member has a due process right to decide whether to
13   participate in, object to, or opt out of a Settlement, and to make that decision based on objective,
14   neutral information. See id. at 1049; In re McKesson HBOC, Inc. Sec. Litig., 126 F. Supp. 2d 1239,
15   1243 (N.D. Cal. 2000) (J. Whyte) (“Rule 23 contemplates that putative class members will make
16   an informed decision about their decision to opt out of a class. The court has a duty to ensure that
17   all putative class members have a genuine choice . . .”). Providing objective information to
18   potential class members is thus “crucial” so that they can “take appropriate steps to make certain
19   their individual interests are protected.” Erhardt v. Prudential Grp., Inc., 629 F.2d 843, 846 (2d
20   Cir. 1980). Courts are empowered to ensure class members fully understand a settlement and to
21   protect potential class members from communications that “are factually or legally incomplete,
22 lack objectivity and neutrality, or contain untruths [which] will surely result in confusion and

23 adversely affect the administration of justice.” Id.

24          The parties agree that publication of the Q & A document will advance the goals of Rule
25   23 by aiding potential Class Members in making informed decisions regarding the pending
26 Settlement if approved. See Georgine v. Amchem Prods., Inc., 160 F.R.D. 478, 502 (E.D. Pa. 1995)

27   (“Rule 23 mandates that class members be exposed to information that will enable them to make
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 1   an informed, intelligent decision whether to opt out or remain a member of the class”). Many of
 2 the questions in the document aim to clarify important and commonly-raised details about the

 3 terms of the pending Settlement.          More truthful and accurate information will increase
 4 transparency and benefit potential Class Members, and the NCAA is uniquely positioned to ensure

 5 widespread access to such information. The interests of due process and justice contemplated

 6 under Federal Rule of Civil Procedure 23 thus counsel in favor of permitting the NCAA to publish

 7 the Q & A document about the pending Settlement.

 8          Publication of the Q & A document would also help correct against misimpressions that
 9 may have been created by others. Courts routinely order appropriate remedial measures to protect

10 potential class members against misleading or confusing communications. See, e.g., Dkt. No. 576

11 (ordering publication of the Court’s protective order addressing third-party claims filing services

12 on the Settlement website). For example, in In re McKesson HBOC, Inc. Securities Litigation,

13 another court in this District held that “it is necessary to provide curative notice to solicited class

14 members, so that they are not confused” and ordered the notice there to be “particularly careful”

15 in order “to avoid irreparable harm” to putative class members who received “misleading”

16 materials from law firms soliciting absent class members to pursue a separate action. 126 F. Supp.

17 2d at 1245–46. Similarly, in Masonek v. Wells Fargo Bank, the court from a neighboring district

18 found that a letter sent to potential class members contained “disconcerting statements about when

19 and how absent class members must act to protect their rights” and ordered curative notice to be

20 sent. No. SACV 09–1048, 2009 WL 10672345, at *2–4 (C.D. Cal. Dec. 21, 2009); see also Alfred

21 v. Pepperidge Farm, Inc., No. LA CV14-07086, 2020 WL 13587900, at *8 (C.D. Cal. Apr. 14,

22 2020) (ordering corrective notice). Here, providing truthful and accurate information about the

23 Settlement will help further correct for the type of misleading third-party communications that

24 were the subject of this Court’s recent protective order.

25                                            CONCLUSION
26          The parties respectfully request that the Court issue an Order approving publication of the
27 Q & A document (Exhibit A) and subsequent supplementation and updating of the publication.

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 1    Dated: December 13, 2024                          Respectfully Submitted,
 2
      WILKINSON STEKLOFF LLP                            COOLEY LLP
 3
      By: /s/ Rakesh N. Kilaru                         By: /s/ Whitty Somvichian
 4
      Beth A. Wilkinson (pro hac vice)                 Whitty Somvichian (SBN 194463)
 5    Rakesh N. Kilaru (pro hac vice)                  Kathleen R. Hartnett (SBN 314267)
      Kieran Gostin (pro hac vice)                     Ashley Kemper Corkery (SBN 301380)
 6    Calanthe Arat (SBN 349086)                       3 Embarcadero Center, 20th Floor
      Tamarra Matthews Johnson (pro hac vice)          San Francisco, California 94111-4004
 7    Matthew R. Skanchy (pro hac vice)                Telephone: (415) 693-2000
 8    2001 M Street NW, 10th Floor                     Facsimile: (415) 693-2222
      Washington, DC 20036                             wsomvichian@cooley.com
 9    Telephone: (202) 847-4000                        khartnett@cooley.com
      Facsimile: (202) 847-4005                        acorkery@cooley.com
10    bwilkinson@wilkinsonstekloff.com
      rkilaru@wilkinsonstekloff.com                    Mark Lambert (SBN 197410)
11    kgostin@wilkinsonstekloff.com                    3175 Hanover Street
12    carat@wilkinsonstekloff.com                      Palo Alto, CA 94304-1130
      tmatthewsjohnson@wilkinsonstekloff.com           Telephone: (650) 843-5000
13    mskanchy@wilkinsonstekloff.com                   Facsimile: (650) 849-7400
                                                       mlambert@cooley.com
14    Jacob K. Danziger (SBN 278219)
      ARENTFOX SCHIFF LLP                              Dee Bansal (pro hac vice)
15    44 Montgomery Street, 38th Floor                 1299 Pennsylvania Ave. NW, Suite 700
16    San Francisco, CA 94104                          Washington, DC 20004-2400
      Telephone: (734) 222-1516                        Telephone: (202) 842 7800
17    Facsimile: (415) 757-5501                        Facsimile: (202) 842 7899
      jacob.danziger@afslaw.com                        dbansal@cooley.com
18
      Attorneys for Defendant                           Attorneys for Defendant
19    NATIONAL COLLEGIATE ATHLETIC                      PAC-12 CONFERENCE
      ASSOCIATION
20

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 1    MAYER BROWN LLP                                   SIDLEY AUSTIN LLP
 2    By: /s/ Britt M. Miller                           By: /s/ Natali Wyson
      Britt M. Miller (pro hac vice)                    David L. Anderson (SBN 149604)
 3
      Daniel T. Fenske (pro hac vice)                   555 California Street, Suite 2000
 4    71 South Wacker Drive                             San Francisco, CA 94104
      Chicago, IL 60606                                 Telephone: (415) 772-1200
 5    Telephone: (312) 782-0600                         Facsimile: (415) 772-7412
      Facsimile: (312) 701-7711                         dlanderson@sidley.com
 6
      bmiller@mayerbrown.com
 7    dfenske@mayerbrown.com                            Angela C. Zambrano (pro hac vice)
                                                        Natali Wyson (pro hac vice)
 8    Christopher J. Kelly (SBN 276312)                 Chelsea A. Priest (pro hac vice)
      Two Palo Alto Square, Suite 300                   2021 McKinney Avenue, Suite 2000
 9    3000 El Camino Real                               Dallas, TX 75201
      Palo Alto, CA 94306                               Telephone: (214) 969-3529
10                                                      Facsimile: (214) 969-3558
      Telephone: (650) 331-2000
11    Facsimile: (650) 331-2060                         angela.zambrano@sidley.com
      cjkelly@mayerbrown.com                            nwyson@sidley.com
12                                                      cpriest@sidley.com
      Attorneys for Defendant
13    THE BIG TEN CONFERENCE, INC.                     Attorneys for Defendant
                                                       THE BIG 12 CONFERENCE, INC.
14

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 1    ROBINSON, BRADSHAW & HINSON,                      LATHAM & WATKINS LLP
      P.A.
 2                                                      By: /s/ Christopher S. Yates
 3    By: /s/ Robert W. Fuller                          Christopher S. Yates (SBN 161273)
      Robert W. Fuller, III (pro hac vice)              Aaron T. Chiu (SBN 287788)
 4    Lawrence C. Moore, III (pro hac vice)             505 Montgomery Street, Suite 2000
      Amanda P. Nitto (pro hac vice)                    San Francisco, CA 94111
 5    Travis S. Hinman (pro hac vice)                   Telephone: (415) 391-0600
      Patrick H. Hill (pro hac vice)                    Facsimile: (415) 395-8095
 6
      101 N. Tryon St., Suite 1900                      chris.yates@lw.com
 7    Charlotte, NC 28246                               aaron.chiu@lw.com
      Telephone: (704) 377-2536
 8    Facsimile: (704) 378-4000                         Anna M. Rathbun (SBN 273787)
      rfuller@robinsonbradshaw.com                      555 Eleventh Street, NW, Suite 1000
 9    lmoore@robinsonbradshaw.com                       Washington, DC 20004
      anitto@robinsonbradshaw.com                       Telephone: (202) 637-1061
10
      thinman@robinsonbradshaw.com                      Facsimile: (202) 637-2201
11    phill@robinsonbradshaw.com                        anna.rathbun@lw.com

12    Mark J. Seifert (SBN 217054)                      FOX ROTHSCHILD LLP
      SEIFERT ZUROMSKI LLP
13    One Market Street, 36th Floor                    By: /s/ D. Erik Albright
      San Francisco, California 941105                 D. Erik Albright (pro hac vice)
14
      Telephone: (415) 999-0901                        Jonathan P. Heyl (pro hac vice)
15    Facsimile: (415) 901-1123                        Gregory G. Holland (pro hac vice)
      mseifert@szllp.com                               230 North Elm Street, Suite 1200
16                                                     Greensboro, NC 27401
      Attorneys for Defendant                          Telephone: (336) 378-5368
17    SOUTHEASTERN CONFERENCE                          Facsimile: (336) 378-5400
18                                                     ealbright@foxrothschild.com
                                                       jheyl@foxrothschild.com
19                                                     gholland@foxrothschild.com

20                                                     Attorneys for Defendant
                                                       THE ATLANTIC COAST
21                                                     CONFERENCE
22

23

24

25

26

27

28
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                                                         JOINT MOT. FOR APPROVAL OF ADD’L
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 1   WINSTON & STRAWN LLP                        HAGENS BERMAN SOBOL SHAPIRO LLP
 2   By: /s/ Jeffrey L. Kessler                  By: /s/ Steve W. Berman
 3   Jeffrey L. Kessler (pro hac vice)           Steve W. Berman (pro hac vice)
     David G. Feher (pro hac vice)               Emilee N. Sisco (pro hac vice)
 4   David L. Greenspan (pro hac vice)           Stephanie Verdoia (pro hac vice)
     Adam I. Dale (pro hac vice)                 1301 Second Avenue, Suite 2000
 5   Sarah L. Viebrock (pro hac vice)            Seattle, WA 98101
     200 Park Avenue                             Telephone: (206) 623-7292
 6
     New York, NY 10166-4193                     Facsimile: (206) 623-0594
 7   Telephone: (212) 294-4698                   steve@hbsslaw.com
     Facsimile: (212) 294-4700                   emilees@hbsslaw.com
 8   jkessler@winston.com                        stephaniev@hbsslaw.com
     dfeher@winston.com
 9   dgreenspan@winston.com                      Benjamin J. Siegel (SBN 256260)
     aidale@winston.com                          HAGENS BERMAN SOBOL SHAPIRO LLP
10
     sviebrock@winston.com                       715 Hearst Avenue, Suite 202
11                                               Berkeley, CA 94710
     Jeanifer E. Parsigian (SBN 289001)          Telephone: (510) 725-3000
12   101 California Street, 34th Floor           Facsimile: (510) 725-3001
     San Francisco, CA 94111-5840                bens@hbsslaw.com
13   Telephone: (415) 591-1000
     Facsimile: (415) 591-1400
14
     jparsigian@winston.com                      Attorneys for Plaintiffs and the Settlement Classes
15

16

17

18

19

20

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 1                                 SIGNATURE CERTIFICATION
 2          I, Rakesh N. Kilaru, am the CM/ECF user whose ID and password are being used to file
 3 this Joint Motion for Approval of Additional Settlement Class Communications. In compliance

 4 with Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this document has been

 5 obtained from each of the other signatories.

 6
      Dated: December 13, 2024                            Respectfully submitted,
 7
                                                          WILKINSON STEKLOFF LLP
 8
                                                          By:    /s/ Rakesh N. Kilaru
 9                                                               Rakesh N. Kilaru
                                                                 Attorney for Defendant
10
                                                                 National Collegiate Athletic Association
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